   Case 1:10-cr-00219-WMS-HKS         Document 344       Filed 08/09/16   Page 1 of 8




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

      v.                                                 DECISION AND ORDER
                                                            10-CR-219S (1)
TONAWANDA COKE CORPORATION and
MARK L. KAMHOLZ,

                           Defendants.


      1.     On September 9, 2014, this Court entered a Decision and Order resolving

Defendant Tonawanda Coke Corporation’s motion to modify the timing of its community

service payments and to seal its submissions in support of its motion. (Docket No. 315.)

As to the first request, this Court denied Tonawanda Coke’s motion to modify the timing

of its community service payments. (Docket No. 315.) Thus, this Court’s previous

Decision and Order requiring that Tonawanda Coke pay its community service installment

payments into the Court’s Registry Fund pending the outcome of Tonawanda Coke’s

appeal to the United States Court of Appeals for the Second Circuit remained unmodified.

(Docket No. 293.) Consistent with that Decision and Order and the Judgment (Docket No.

281), Tonawanda Coke paid $3,211,971 into the Court Registry Fund on October 8, 2014,

and $3,049,357 into the fund on October 7, 2015.

      2.     As to the second request, this Court granted Tonawanda Coke’s motion to

seal its submissions at docket numbers 302-314 pending the outcome of its appeal.

(Docket No. 315.) In doing so, this Court expressed its disinclination to permit continued

sealing of all of the submissions in their entirety. (Docket No. 315.) Consequently, this

Court imposed a temporary seal to remain in place until 30 days after the Second Circuit’s

issuance of the Mandate resolving Tonawanda Coke’s appeal. (Docket No. 315.)
   Case 1:10-cr-00219-WMS-HKS           Document 344       Filed 08/09/16     Page 2 of 8




       3.     On January 11, 2016, the Second Circuit denied Tonawanda Coke’s appeal

in its entirety. See United States v. Tonawanda Coke Corp., 636 Fed.Appx. 24 (2d Cir.

2016.) Of particular note, the Second Circuit rejected Tonawanda Coke’s argument that

this Court abused its discretion in imposing the special condition of probation requiring it

to fund the two evaluative studies set forth in the Judgment. See id. at *29. The Second

Circuit’s Mandate was entered on May 4, 2016. (Docket No. 336.)

       4.     Presently before this Court is Tonawanda Coke’s Motion for Continued

Temporary Sealing of Docket Numbers 302-314, or in the alternative, to Unseal Docket

Numbers 302-314 with redactions. (Docket No. 340.) The government opposes both

requests and maintains that the temporary seal should be lifted in its entirety. For the

following reasons, Tonawanda Coke’s motion is granted.

       5.     It is well settled that the public has a qualified right of access to judicial

proceedings and documents under both the common law and the First Amendment.

United States v. Erie County, NY, 763 F.3d 235, 238-40 (2d Cir. 2014); Lugosch v. Pyramid

Co. of Onondaga, 435 F.3d 110, 119 (2d Cir. 2006); Hartford Courant Co. v. Pellegrino,

380 F.3d 83, 90 (2d Cir. 2004).

       6.     The common law right of public access to judicial documents is well

established; indeed, it is said to pre-date the Constitution. Lugosch, 435 F.3d at 119;

United States v. Amodeo (“Amodeo I”), 44 F.3d 141, 145 (2d Cir. 1995). “The presumption

of access under the common law is based on the need for federal courts, although

independent—indeed, particularly because they are independent—to have a measure of

accountability and for the public to have confidence in the administration of justice.” United

States v. Amodeo (“Amodeo II”), 71 F.3d 1044, 1048 (2d Cir. 1995).

                                              2
   Case 1:10-cr-00219-WMS-HKS            Document 344       Filed 08/09/16     Page 3 of 8




       7.     Whether a document is a judicial document presumed to be publicly

accessible under the common law hinges on “the role of the document in the judicial

process.” Erie County, 763 F.3d at 239. Thus, to determine whether a document is a

judicial document, a court must consider whether the document is “relevant to the

performance of the judicial function and useful in the judicial process.” Lugosch, 435 F.3d

at 119. If it is, then it is a judicial document to which the common law presumption of

access applies. Erie County, 763 F.3d at 239. The question then is what weight should

be given the presumption of access, which is “governed by the role of the [document] in

the exercise of Article III judicial power and the resultant value of such information to those

monitoring the federal courts.” Amodeo II, 71 F.3d at 1049. The final step is to balance

competing considerations against public disclosure. See Lugosch, 435 F.3d at 120. “Only

when competing interests outweigh the presumption may access be denied.” Erie County,

763 F.3d at 239 (citing Lugosch, 435 F.3d at 119-20.)

       8.     As noted, the First Amendment also protects the public’s right of access to

judicial documents. See, e.g., Globe Newspaper Co. v. Superior Court for Norfolk Cty.,

457 U.S. 596, 603, 102 S.Ct. 2613, 73 L.Ed.2d 248 (1982) (holding that the First

Amendment ensures “the press and general public a constitutional right of access to

criminal trials”); Lugosch, 435 F.3d at 120 (finding it well settled that “the public and the

press have a qualified First Amendment right to attend judicial proceedings and to access

certain judicial documents.”) (quoting Hartford Courant, 380 F.3d at 91); Gambale v.

Deutsche Bank AG, 377 F.3d 133, 140 n. 4 (2d Cir. 2004). This right is generally

understood to be stronger than the one found in the common law. See Erie County, 763

F.3d at 239 (citing Hartford Courant, 380 F.3d at 91).

                                              3
   Case 1:10-cr-00219-WMS-HKS            Document 344       Filed 08/09/16     Page 4 of 8




       9.     Whether the First Amendment right of access attaches to a document

depends on whether “experience and logic” support making the document publicly

available. Erie County, 763 F.3d at 239 (citing Lugosch, 435 F.3d at 120.) To make that

determination, a court must consider “(a) whether the document[ ] ‘[has] historically been

open to the press and general public’ (experience) and (b) whether ‘public access plays

a significant positive role in the functioning of the particular process in question’ (logic).”

Erie County, 763 F.3d at 239 (citing Lugosch, 435 F.3d at 120 (internal quotation marks

omitted).) “Once a First Amendment right of access to judicial documents is found, the

documents ‘may be sealed [only] if specific, on the record findings are made demonstrating

that closure is essential to preserve higher values and is narrowly tailored to serve that

interest.’” Erie County, 763 F.3d at 239 (citing Lugosch, 435 F.3d at 120).

       10.    To begin, this Court finds that the documents at docket numbers 302-314 are

judicial documents. They consist of motions, supporting affidavits, memoranda of law, and

decisions. These documents pertain to Tonawanda Coke’s economic status or contain its

financial information and trade secrets. Because all of the documents are “relevant to the

performance of the judicial function and useful in the judicial process,” they are judicial

documents. Lugosch, 435 F.3d at 119.

       11.    Having found that Docket Nos. 302-314 are judicial documents, the common

law presumption of access attaches. Erie County, 763 F.3d at 239. The question now is

what weight should be given the presumption of access. The documents at issue relate

to a narrow set of motions pertaining to the timing of payment obligations publicly imposed

at sentencing. While this Court’s resolution of those motions may be of value to those

monitoring federal courts, the underlying confidential information is of little to no value for

                                              4
   Case 1:10-cr-00219-WMS-HKS           Document 344       Filed 08/09/16     Page 5 of 8




institutional monitoring purposes. Moreover, because the documents pertain to such a

narrow issue—the timing of payments—they play a relatively minor role in the exercise of

Article III power. See Amodeo II, 71 F.3d at 1049 (noting that the weight to be afforded the

presumption of access is “governed by the role of the [document] in the exercise of Article

III judicial power and the resultant value of such information to those monitoring the federal

courts.”).

       12.    The diminished weight of the presumption of access in this context must now

be balanced with Tonawanda Coke’s competing interests against public disclosure. See

Lugosch, 435 F.3d at 120. To this point, Tonawanda Coke maintains that unsealing these

documents will irreparably harm its business interests, place it at a competitive

disadvantage, endanger an imminent business transaction, and generally ignite concerns

regarding its economic stability. It argues that revealing its detailed financial information

and projected costs as set forth by its accountant and company representatives would

cause it undue harm and threaten its ability to meet its fine and community service

payment obligations. The same concerns hold true for the unsealing of its trade secrets:

sales and production histories; cost information; and minimum and maximum operating

capacities.   According to Tonawanda Coke, its competitors will capitalize on this

information to lure customers away, thereby threatening its economic stability. Thus, the

countervailing interest to public disclosure is ensuring the satisfaction of Tonawanda

Coke’s sentencing obligations.

       13.    The government is not convinced. Although it concedes that the documents

at issue contain certain sensitive financial information related to Tonawanda Coke’s



                                              5
   Case 1:10-cr-00219-WMS-HKS           Document 344       Filed 08/09/16     Page 6 of 8




business dealings, it believes that Tonawanda Coke’s claims of harm and potential

suffering are speculative.

       14.    In this Court’s view, Tonawanda Coke’s competing interests are compelling.

When balanced against the relatively minor public interest concerning the timing of

payments, the resolution of which has already been publicly disclosed, see Docket No.

315, Tonawanda Coke’s business-viability concerns counsel in favor of continued

temporary sealing. Accordingly, this Court finds that Tonawanda Coke’s competing

interests outweigh the common law presumption of access.

       15.    Turning to the stronger First Amendment right of access, the relevant inquiry

is (1) whether the documents have historically been open to the press and general public,

and (2) whether public access would significantly further the functioning of the process at

issue. See Erie County, 763 F.3d at 239. Motions before the court, of course, have

historically been open to the public. But specific financial information and trade secrets are

routinely shielded. Particularly here, where disclosure of such sensitive information may

endanger the viability of a company obligated to pay a criminal fine and fund community

service projects as a condition of sentencing, continued sealing is appropriate.

       16.    This is particularly true because public access to this information would not

significantly further any function of public concern. The timing of Tonawanda Coke’s

payments has already been publicly resolved, thereby providing the public the ability to

monitor Tonawanda Coke’s compliance with its obligations. Disclosure of specific financial

information or trade secrets does nothing to further the public’s understanding of

Tonawanda Coke’s criminal sentence or the payment process. On the other hand, public

disclosure could cause irreparable damage to Tonawanda Coke’s economic viability

                                              6
   Case 1:10-cr-00219-WMS-HKS            Document 344    Filed 08/09/16    Page 7 of 8




thereby threatening its ability to comply with the sentence imposed by this Court, as

detailed above.

       17.    Consequently, this Court finds that experience and logic counsel against

public disclosure of these documents at this time. Rather, this Court finds that Tonawanda

Coke’s compelling interests overcome the First Amendment right of access as it pertains

to this discrete set of documents.

       18.    Having found that another period of temporary sealing is warranted, this

Court will grant Tonawanda Coke’s request for an additional 1-year period of wholesale

sealing of docket numbers 302-314. The duration of the temporary seal will run one year

from the filing date of Tonawanda Coke’s motion. The temporary seal will thus expire on

July 6, 2017. Not later than 45 days before July 6, 2017, Tonawanda Coke may move for

narrow redactions before public disclosure of docket numbers 302-314 is made. Requests

for redaction, if any, will be heavily scrutinized.

       19.    The denial of Tonawanda Coke’s appeal not only raises the sealing issue

resolved above, it triggers the funding of the community service projects identified in the

judgment. (Docket No. 281.) In particular, the University of Buffalo Study is entitled to

$5,550,167 and the Soil Sample Study is entitled to $711,161. These payments, plus

interest on a proportional basis, will be made out of the Court Registry Fund, which has

been holding Tonawanda Coke’s annual installment payments in escrow pending

resolution of its appeal. Before this Court orders these payments from the Court Registry

Fund, however, it will require each study to submit a Statement of Readiness to accept

these funds. The statements should (1) indicate whether the study is ready to commence,

(2) indicate whether the study is prepared to accept the payments, and (3) identify the

                                               7
   Case 1:10-cr-00219-WMS-HKS          Document 344     Filed 08/09/16   Page 8 of 8




payee for the payments. Once received, these statements will be filed on the docket.

Upon acceptance of the payments, each study’s obligation to provide 6-month status

reports to the United States Probation Officer will begin. (See Docket No. 281.)



      IT HEREBY IS ORDERED, that Tonawanda Coke’s Motion for Continued

Temporary Sealing of Docket Numbers 302-314 (Docket No. 340) is GRANTED.

      FURTHER, that the Temporary Seal on Docket Numbers 302-314 will expire on July

6, 2017, unless this Court directs otherwise.

      FURTHER, that the United States Probation Office is directed to send a copy of this

Decision and Order to the community service projects identified in the judgment—UB Study

and Soil Sample Study.

      FURTHER, that the community service projects identified in the judgment—UB

Study and Soil Sample Study—shall each submit directly to this Court a Statement of

Readiness, as explained herein, within 21 days of the entry date of this decision. This

statement will be filed on the docket upon receipt.

      SO ORDERED.

Dated: August 9, 2016
       Buffalo, New York

                                                       /s/William M. Skretny
                                                      WILLIAM M. SKRETNY
                                                      United States District Court




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